      Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 1 of 38




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

                                             )
JACQUELYN WILLIAMS,                          )
                                             )
              Plaintiff,                     )      CIVIL ACTION 1:21-cv-04417-MLB-LTW
                                             )
v.                                           )
                                             )
PASCHAL’S RESTAURANT, LLC and                )     JURY TRIAL DEMANDED
CONCESSIONS INTERNATIONAL, LLC,              )
                                             )
              Defendants.                    )
                                             )

                                   COMPLAINT

       COMES NOW Plaintiff, Jacquelyn Williams, and for her Complaint against

Defendants Paschal’s Restaurant, LLC and Concessions International, LLC, states

as follows:

                                NATURE OF ACTION

     1. This is an action arising out of Plaintiff’s employment with Defendants

Paschal’s Restaurant, LLC and Concessions International, LLC (together

“Defendants”). Plaintiff seeks to redress discrimination based on her color (light-

skinned Black), sex (female), and retaliation under Title VII of the Civil Rights Act

of 1964, as amended, 42 U.S.C. § 2000e et seq ("Title VII"). Plaintiff also brings
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 2 of 38




claim under the laws of the State of Georgia for the torts of intentional infliction of

emotional distress and negligent retention/supervision.

                          JURISDICTION AND VENUE

      2. This Court has original jurisdiction of this action under 28 U.S.C. §§ 1331

and 1343(a)(4), 42 U.S.C. § 2000e-5(f)(3).

      3. Venue is proper in this Court under 28 U.S.C. § 1391 because this is the

judicial district in which Defendants reside, and this is the district in which a

substantial part of the events and omissions giving rise to the claim occurred. Venue

also is proper in this Court under 42 U.S.C. § 2000e-5(f)(3) as this is the district in

which the unlawful employment practices occurred and where the employment

records relevant to such practices are maintained.

                           CONDITIONS PRECEDENT

     4. Plaintiff has fulfilled all conditions precedent to institution of this action.

She timely filed charges with the Equal Employment Opportunity Commission,

(“EEOC”) which the Defendants had knowledge of. The charges raised claims of

discrimination and harassment based on her color (light-skinned Black) and




                                           2
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 3 of 38




retaliation. The EEOC issued Plaintiff a Notice of Right to Sue, and this suit is filed

within ninety (90) days of receipt of that notice.

     5.   On March 16, 2020, Plaintiff contacted the EEOC through its online portal

seeking to file a charge of discrimination.

     6.     On April 7, 2020, Plaintiff completed and submitted on the portal the

EEOC information questionnaire spelling out the basis of her charge which was

assigned a case number.

     7.    Because of the pandemic, it was not until July 1, 2020, that the EEOC

finalized Plaintiff’s EEOC charge submitted almost three (3) months earlier.

                                      PARTIES

      8. Plaintiff, Jacquelyn Williams, is a female of color, who was employed by

Defendants at Paschal’s Restaurant located in Atlanta.

      9. Defendant Paschal’s Restaurants, LLC is a domestic limited liability

corporation, headquartered at 566 Wells Street, SW, Atlanta, Georgia that does

business as Paschal’s Restaurant in Fulton County, Georgia. Defendant Paschal’s

Restaurants, LLC, individually and/or with the aggregation of employees of




                                           3
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 4 of 38




Concessions International, LLC, is an employer as that term is defined in Title VII,

42 U.S.C. § 2000e(b).

      10. Defendant Concessions International, LLC (“Concessions”) is a domestic

limited liability corporation, headquartered at 566 Wells Street, SW, Atlanta,

Georgia that operates Paschal’s Restaurant in Fulton County, Georgia and a number

of other restaurants and food and beverage establishments. Concessions is an

employer as that term is defined in Title VII, 42 U.S.C. § 2000e(b).

      11.   Defendant Concessions operates and manages numerous food and

beverage concessions at airports across the United States and in St. Thomas, Virgin

Islands, as well as affiliates that include H.J. Russell & Company, hotels and

Paschal’s Restaurant (“Paschal’s” or “Paschal’s Restaurant”) at which Plaintiff

worked.

      12.    The business and affairs of Paschal’s are entirely and exclusively

managed by Defendant Concessions.

      13.    Defendant Concessions is responsible for supervision of the day-to-day

operations of Paschal’s, including staffing.




                                          4
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 5 of 38




      14.   Defendant Concessions is responsible for administrative aspects of

Paschal’s, including Human Resources, subject to “Employee Handbook For

Concessions International, LLC and Affiliates.”

      15.   Plaintiff’s application for employment at Paschal’s was through

Defendant Concessions on a Concessions International application form.

      16.   On the website for Paschal’s Restaurant, its email address is a

Concessions International address: paschals@cint.com. All employees who worked

at Paschal’s, including Plaintiff, had “@cint.com” email addresses.

      17.   The Paschal’s website is a restaurant website without a named contact.

The only named contact for Paschal’s is on Defendant Concessions website: Zane

Majors, Operations Manager, listed as a Concessions contact.

      18.   To the extent Paschal’s Restaurants, LLC is or has ever been considered

the employer of Paschal employees, that was only for tax, corporate or other such

purposes, with Defendant Concessions responsible for all aspects of the employment

of the Paschal’s Restaurant employees.




                                         5
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 6 of 38




      19.    Employees of Defendant Concessions handled Plaintiff’s complaints of

hostile environment and retaliation and otherwise controlled the employment

relations of Paschal’s Restaurant at which Plaintiff worked.

      20.    The result of the investigation of Plaintiff’s complaints of hostile

environment was reported on Defendant Concessions’ letterhead.

      21. Defendants Paschal’s Restaurants, LLC and Concessions International,

LLC (“Defendants”) are single employers/integrated enterprises, joint employers

and/or Defendant Concessions is considered the agent of Paschal’s Restaurants,

LLC, so that both are liable to Plaintiff for her claims.

                                       FACTS

                       BACKGROUND AND SUMMARY

      22.   During January 2019, Plaintiff contacted a third-party recruiting firm

regarding a position as General Manager of Defendants’ Paschal’s Restaurant.

      23. Plaintiff interviewed during March 2019 with Zane Major, Director of

Operations for Concessions, Arthur Banks, Executive Chef of Paschal’s, and other

of Defendants’ managers.




                                           6
      Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 7 of 38




      24. During the interview Banks told Plaintiff that she likely was not going to

get the job, but if Plaintiff was hired he liked to have beautiful women around him

at work.

      25. Although Plaintiff had applied and was qualified for the position of

General Manager, she was notified on April 29, 2019, by Akosua Nyannor, Director

of Human Resources for Concessions, that Defendants were offering her a position

as Assistant Manager at Paschal’s Restaurant.

       26. Rather than hiring Plaintiff for the General Manager position for which

she was qualified, Defendants hired a male, Tony Neeley, as General Manager.

       27. Most employees at Paschal’s are Black employees with darker skin than

Plaintiff.

       28. Beginning almost immediately upon Plaintiff’s employment on May 9,

2019, and continuing through Plaintiff’s last day of work on April 8, 2020, Plaintiff

was subjected to sexual harassment and harassment based on her light skin tone:

repeated unwelcome and offensive verbal comments which had the purpose and

effect of creating an intimidating, hostile and offensive working environment.




                                         7
      Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 8 of 38




       29. Most of the harassing statements were made by a management employee,

Arthur Banks, a dark-skinned male, who was the Executive Chef and periodically

the General Manager at Defendants’ Paschal’s Restaurant.

       30. Additionally, Banks encouraged Defendants’ employees to make sexually

inappropriate comments to Plaintiff and slurs or derogatory statements regarding

Plaintiff’s light skin color.

       31. Prior to Plaintiff’s employment, Defendants, on information and belief,

received complaints and/or knew or should have known about Banks’ harassment of

female employees and employees of light skin color, and the hostile environment

based on sex and color at Paschal’s Restaurant.

       32. Defendants failed and/or inadequately responded to the prior complaints

and knowledge of the harassment and hostile environment as a result of which

Plaintiff was subjected to harassment and the hostile environment.

       33. During Plaintiff’s employment, Arthur Banks repeatedly solicited sexual

favors and activity from female kitchen employees and rewarded participating

employees with special benefits, thereby creating a hostile work environment for

Plaintiff and other female employees.


                                         8
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 9 of 38




      34     Among other things, Banks often would escort female employees

upstairs to an apartment provided to him by Defendants. Employees believed that

Banks was repeatedly using such employees to engage in sexual activity.

Additionally, Banks solicited female employees to record sexually provocative

dancing on videotape and provide the videotape to him to watch in his office.

     35.    Many of the employees succumbed to Banks’ demands and were given

special financial benefits in return, such as recording falsely increased work hours

so that the employees were paid for unworked hours.

      36. Banks invited Plaintiff to go to his apartment in order for them to engage

in sex and made comments suggesting that if Plaintiff acceded to his demands, she

would receive benefits and her work life would be made easier.

      37.   Plaintiff repeatedly informed Banks that the sexual harassment was not

welcome, but he did not stop his offensive comments and requests for sexual favors.

      38.    Plaintiff on numerous occasions reported the harassment and hostile

environment to upper management and human resource managers of Defendants.




                                         9
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 10 of 38




      39.    In addition to Plaintiff’s reports, on many occasions, a management

official of Defendants, including Zane Major, Kimberly Ransom, Tony Neely,

Ronald Shuffler, and Vivian Brown, directly observed the actual harassment.

      40.    Although Defendants were aware of the offensive conduct toward

Plaintiff and other female employees, Defendants took no steps which were effective

in stopping the harassment of Plaintiff.

      PLAINTIFF WAS SUBJECTED TO A HOSTILE ENVIRONMENT
         BECAUSE OF HER SEX AND COLOR AND REPORTED
                         THE CONDUCT

                            Events Occurring in 2019

      41.    On Plaintiff’s initial workday on May 9, 2019, an employee

commented, “If that yellow bitch don’t get out of here, someone is going to hurt

her.” Plaintiff reported the statement to Banks, who took no action to correct or

discipline the offending employee, but instead responded, “I keep pretty women

around me who follow me and do what I say.”

      42.    During Plaintiff’s first months on the job, Plaintiff was contemptuously

referred to as “yellow” on at least two dozen occasions by Banks and various

employees.


                                           10
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 11 of 38




       43     Banks frequently referred to Plaintiff as a “bitch” in front of restaurant

employees and encouraged other employees to call Plaintiff a bitch or yellow bitch.

       44.    The derogatory use of the word “yellow” was akin to white employees

repeatedly referring to an employee as “Black,” and, when combined with the word

bitch, “yellow bitch” equated to a female employee being called a “Black bitch.”

       45.   On about May 15, 2019, Plaintiff reported to General Manager Tony

Neely that an employee had referred to her as “that yellow bitch” and that Banks had

made a sexually inappropriate comment to her. Neely indicated that nothing would

be done, responding that Banks has “Zane (Major, Operations Manager) in his back

pocket.”

       46 . On or about May 18, 2019, Banks and another employee asked Plaintiff

about the number of white people in her family because of her light skin and green

eyes, and Banks negatively commented that Plaintiff was half-white.

       47.    On numerous occasions, including on or about May 22, 2019, Banks

would request sexual favors from Plaintiff telling her that he would make things

better if Plaintiff would “give Big Daddy some” or “give me some comfort” or words

to that effect.


                                           11
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 12 of 38




        48. On about May 23, 2019, Plaintiff reported to General Manager Tony

Neely that Banks had invited Plaintiff to give him sexual favors and had commented

that Plaintiff had a lot of whites in her family because she was half white and had

green eyes. Neely again indicated that nothing would be done, merely responding:

“you know Art does what Art wants.”

        49. When an employee on or about May 28, 2019, referred to Plaintiff as

“that yellow bitch,” Banks laughed and took no steps to correct the employees.

        50. On or about May 28, 2019, Plaintiff reported to Zane Major that Banks

laughed when an employee referred to her as a yellow bitch. Mr. Major declined to

do anything, replying to Plaintiff: “. . . (T)hat is just their way of reacting to anyone

new.”

     51.     On or about early June 2019, Defendants hired Robelynn McNair, a

former Vice President of Human Resources for Defendant Concessions, to consult

regarding employment matters at Paschal’s. Plaintiff spoke with Ms. McNair.

     52. In her conversations with Ms. McNair, Plaintiff spelled out the sexually

inappropriate and “yellow” comments she had suffered from Banks and Defendants’




                                           12
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 13 of 38




employees. Ms. McNair told Plaintiff that she would communicate with Zane Major

regarding Plaintiff’s complaints.

     53. On or about June 6, 2019, Plaintiff spoke with Mori Russell, Business

Development Manager of Defendant Concessions.

     54.   Plaintiff described to Ms. Russell, and an individual believed to be an

attorney for Defendant Concessions, the offensive sexual statements by Banks and

the hostile environment suffered by Plaintiff at the restaurant. Ms. Russell stated

that Defendants’ leadership was aware of the abuse she was suffering at work, but it

was Zane Major’s job to fix; she added that she was sorry and walked into her office.

     55. On or about June 8, 2019, Plaintiff went to the corporate office of

Concessions and told Akosua Nyannor, Human Resources Director for Concessions,

about the sexual harassment and verbal abuse she was experiencing at the restaurant.

     56. As of on or about June 13, 2019, Plaintiff reported to Zane Major,

Concessions’ Operations Director, that she could not take what was happening with

the hostile environment.




                                         13
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 14 of 38




      57. On or about June 16, 2019, Plaintiff’s husband, Rodney Williams, told

General Manager Tony Neely that Banks had threatened Plaintiff and requested that

Neely keep Plaintiff safe.

     58. On information and belief, Neely relayed this information to Zane Major,

who then informed Plaintiff’s husband that he was not welcome at the restaurant.

     59. On or about June 20, 2019, Concessions’ Human Resources Director

Akosua Nyannor asked Plaintiff how things were going at the restaurant. Plaintiff

burst into tears and told Ms. Nyannor that Banks would ask her for sex and threaten

that Plaintiff would lose her job if she did not accommodate him.

     60. On or about June 2019, Plaintiff met with Sara Fernald, Chief Executive

Officer of a team-building organization hired by Defendants. Plaintiff reported the

threats she was receiving and the hostile environment to which Plaintiff was

subjected.

     61. Despite dozens of reports from Plaintiff and other employees regarding

the abusive conduct of Banks in subjecting Plaintiff to a hostile environment based

on Plaintiff’s color and relentless sexual harassment of Plaintiff and other




                                        14
        Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 15 of 38




employees, Defendants inexplicably appointed Banks as General Manager on or

about June 27, 2019.

         62. Almost immediately after Banks was designated acting General Manager,

he told Plaintiff, “If you don’t get in line, I will have Zane bounce your yellow ass

out.”

         63. The repeated sexually inappropriate and colorist comments by Banks,

now the General Manager, gave license to comments by the staff, thus intensifying

the hostile environment suffered by Plaintiff. For example, one female employee

commented that Plaintiff needed a woman to eat her pussy, causing Banks and other

employees to laugh. General Manager Banks took no steps to correct or reprimand

the employee making the offensive comment.

         64. On or about early July 2019, after Banks arrived at the restaurant at

Plaintiff’s request to intercede in an altercation between employees, Banks angrily

shouted obscenities to Plaintiff and threatened to assault her; Plaintiff ran from him

to escape the assault. During this encounter Banks stated: “I am not playing with

you. I have tried to get you to see that this is not a democracy.” Banks departed

saying: “Bitch, this is not over!”


                                         15
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 16 of 38




     65. Plaintiff reported to Akosua Nyannor the confrontation, threats, and that

Banks called her a “bitch” in front of employees. Ms. Nyannor responded that she

would convey the information to Zane Major.

     66.    During late July 2019, an employee told Plaintiff that “Art (Banks) has

instructed us to get you any way we want when you go running your f**king mouth.”

     67. Defendants arranged for a meeting on or about July 29, 2019, to help

resolve the hostile environment issues in the kitchen. An employee approached

Plaintiff stating, “Bitch, how long is it going to take for you to see we will hurt you,”

along with other verbal threats. Zane Major, Director of Operations, heard the

comment but took no steps to correct or discipline the employee.

      68.    Although Plaintiff persistently reported the offensive comments and

actions by Banks and some kitchen employees to Zane Major, he ignored the reports

and even suggested to Plaintiff that she should go along with the request by Banks

for sexual favors in order to make her job easier.

      69. During September 2019, Banks approached Plaintiff and stated: “If you

open your mouth about anything that has happened, things are not going to be good

for you.”


                                           16
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 17 of 38




      70.   On or about early September 2019, when Ms. Nyannor came to the

restaurant to eat she asked Plaintiff how she was doing. Plaintiff responded that the

abuse on the job still was happening.

       71. During early October 2019, Ronald Shuffler was hired as General

Manager. On his first day, Plaintiff had a prolonged conversation with Shuffler

regarding the history of abuse suffered by her. Mr. Shuffler stated that the situation

would change under his leadership.

       72. During October 2019, Banks told Plaintiff, “I heard you telling things to

your uncle (Ron Shuffler). Nothing is going to change until you do what I ask. Look

at how the other females treat Big Daddy; get your yellow ass in line.”

      73.    On or about November 14, 2019, Banks asked Plaintiff when she was

going to learn that unless you “give me some ass, life is going to be hell for you?

You better give me what I have been asking you for.”

      74.    On a Sunday in December 2020, while HR Director Nyannor was in the

restaurant, Banks told Plaintiff to report to Nyannor that he said Plaintiff’s pussy is

dry because she was f**king the same man, and that Ms. Nyannor would not do




                                          17
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 18 of 38




anything. Plaintiff reported Banks’ extremely offensive comment to Nyannor whose

only response was that she was not working that day.

                            Events Occurring in 2020

      75.   Throughout the time Plaintiff was employed in 2020 as before, Banks

made repeated demands for sexual favors from Plaintiff. For example, he told

Plaintiff that if “she would give Big Daddy some,” things would get better for her

and if she “would fall in line her life would improve.”

     76. On or about January 6, 2020, Kimberly Ransom, a general manager for

Concessions, was assigned to help resolve issues in the restaurant kitchen. When

Plaintiff told Ms. Ransom about the harassment she was experiencing, Ms. Ransom

responded that everyone in the company knows what Banks is doing.

      77.    During the first week of January 2020, Banks tried to convince Plaintiff

to give Natasha, the lead cook, extra money. Banks said to Plaintiff that if she gave

him some ass, he would get her extra money as well.

      78.    Later in January 2020, shortly before Plaintiff’s birthday on January 24,

she was discussing thoughts about what she wanted for her birthday. Banks

suggested that she wanted him, “all of Big Daddy.” Plaintiff asked Banks to stop.


                                         18
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 19 of 38




Banks’s response was that “my girls they are happy when Big Daddy gives them a

gift” and Plaintiff needed him to show that to her.

      79.    Shortly after Plaintiff’s birthday, Banks called Plaintiff to his office.

Plaintiff asked Banks what he wanted, and he told Plaintiff to come in. When she

did, Plaintiff found Banks sitting with his legs open, his hand on his leg and the front

of his pants wet. Banks smiled at Plaintiff and said, “You know, see what you do.”

       80.   After the above incident, Plaintiff turned and walked away, frustrated

that there was no one to whom she could report the incident who was going to do

anything.

       81.   During the first week of February 2020, Plaintiff noticed that, in

response to her request for employee emergency contact information, all the females

listed Banks. When Plaintiff mentioned that to Banks, he responded “When are you

going to learn, Big Daddy gets want he wants. After I get you where I want you, you

will list me as your emergency contact too.”

PLAINTIFF’S ESCALATION OF HER COMPLAINTS OF HARASSMENT
       AND HOSTILE ENVIRONMENT IN FEBRUARY 2020

      82. Throughout her employment, Plaintiff initiated numerous conversations

with almost every management official of Defendants, including but not limited to:
                                          19
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 20 of 38




Donata Russell Ross (Chief Executive Officer); Zane Major (Operations Manager);

Akosua Nyannor and Anna Avelino (Human Resources); Mori Russell (Business

Development Manager); Tony Neely, Ronald Shuffler, and Kimberly Ransom

(General Managers); seeking help to put an end to the hostile environment she

experienced because of sexual harassment and her color.

      83. Despite reports by Plaintiff to numerous management members over a

prolonged period regarding the egregious sexual harassment and the hostile

environment based on color, Defendants had not counseled or issued corrective

discipline to offenders, had not engaged in employee meetings to educate employees

regarding acceptable behavior, and not issued not a single notice that emphasized

any company position against harassment in the workplace. As a result, the

harassment and hostile environment continued.

      84. In February 2020, Plaintiff became aware that General Manager Ronald

Shuffler would not be successful in halting the offensive conduct of Banks and

correcting the hostile environment at Paschal’s.        At that time, Mr. Shuffler

acknowledged to Plaintiff that there was nothing he could do to protect Plaintiff from

harassment. Mr. Shuffler stated that he had reported the circumstances all the way


                                         20
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 21 of 38




up to the top level of Concessions, including to Donata Russell Ross, Chief

Executive Officer, who told Shuffler that it was his job to get Plaintiff in line, to shut

up, and stop complaining.

     85. Around this same time, Plaintiff’s mental and physical health, which had

suffered as a result of the harassment and hostile environment, worsened. Plaintiff,

who is a diabetic, went home sick, her heart racing, blood sugar very high and vision

with spots. Plaintiff reported to Defendants on the return of the headaches she

experienced and visited her physician.

      86. On February 16, 2020, Plaintiff sent an email to General Manager Ron

Shuffler referring to the panic attack she suffered and requesting a meeting with

Defendants’ officials so that she could spell out in detail and at one time what was

done to her and what she had gone through.

   DEFENDANTS’ INVESTIGATION OF PLAINTIFF’S COMPLAINTS

      87. Plaintiff was summoned to a meeting with Anna Avelino, Benefits

Manager of Concessions, and Operations Manager Zane Major on February 19,

2020, to hear her complaints. Plaintiff objected to the participation in the




                                           21
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 22 of 38




investigation by Mr. Major and requested that he not be involved because he had

been part of the problems faced by Plaintiff.

    88. During the meeting Plaintiff stated that she “cannot take it anymore,”

spelling out the basis of her complaints of harassment based on sex and color.

Plaintiff stated that she was scared to be in the environment that had been created in

the restaurant because of the sexually inappropriate comments and the offensive

comments regarding her color and the threats of harm toward her.

     89. Zane Major responded to Plaintiff stating that, “we are all black here” and

that Plaintiff “was taking things too seriously.”

     90.   Ms. Avelino asked Plaintiff what she wanted done to solve the problems

and what would make Plaintiff complete.

     91.   Plaintiff responded that Defendants should fire Banks and train the staff

to avoid such statements and conduct. Mr. Major responded that her request was

harsh and that restaurant employees are loyal to Banks.

     92. On February 19-20, 2020, Defendants’ managers Zane Major and Anna

Avelino interviewed a number of Defendants’ restaurant employees regarding

Plaintiff’s allegations of sexual and color harassment and abuse.


                                          22
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 23 of 38




     93. On information and belief, Arthur Banks was interviewed regarding

Plaintiff’s complaints by only Zane Major.

   SUBSTANTIATION OF PLAINTIFF’S COMPLAINTS FOLLOWED
              BY INACTION TO ADDRESS THEM

      94. After the investigation was completed and shortly before the scheduled

meeting with Plaintiff to review the conclusions of the investigation, Defendants

discharged General Manager Ron Shuffler, the only manager who had demonstrated

any motivation to stop the harassment.

      95. Ms. Avelino and Zane Major met with Plaintiff on March 4, 2010, to

disclose findings of the investigation they had conducted.

     96. Anna Avelino stated that Plaintiff’s complaints of a hostile environment

had been substantiated and apologized that Plaintiff had endured the circumstances.

Plaintiff was handed a letter from Defendant Concessions dated March 4, 2020,

confirming that “your complaint was substantiated” and establishing steps to be

taken by Defendants in response to the complaint.

     97. On information and belief, Defendants did not subject Banks to corrective

discipline after the investigation substantiating his egregious behavior toward



                                         23
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 24 of 38




Plaintiff -- his sexually inappropriate comments and his offensive statements

regarding Plaintiff’s color.

     98. Defendants stated in the report of the investigation that they would conduct

“an immediate staff meeting to inform everyone that a hostile work environment will

not be tolerated” and “provide training to employees regarding appropriate and

inappropriate behavior/language in the workplace.”

     99. Defendants failed to conduct such meetings and training, as a result of

which Plaintiff continued to suffer from harassment by employees and management.

       THREATS AND HARASSMENT OF PLAINTIFF AFTER AND
        IN RETALIATION FOR HER ESCALATED COMPLAINT
                   AND THE INVESTIGATION

    100. Immediately after Plaintiff spelled out her complaints to Defendants on

February 19, 2020, Arthur Banks threatened Plaintiff regarding her reports of

harassment and hostile environment and told restaurant employees that Plaintiff had

reported their behavior to management.

    101. Arthur Banks told Plaintiff that he had learned what she had told Anna

Avelino and Zane Major, stating that, “she was going to pay for that.”




                                         24
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 25 of 38




     102. When Banks returned to the restaurant from his meeting with Mr. Major

he asked employees where was the “tattletale,” referring to Plaintiff, and told

Plaintiff that “your yellow ass should be concerned” because she had raised

complaints with Defendants regarding the hostile environment.

     103. Anna Avelino sent Plaintiff a letter on February 25, 2020, stating: “The

Company will protect you from any retaliation that you experience as a result of

coming forward with your allegations and cooperating with the investigation. Please

notify me immediately if you have been retaliated against.”

      104. Plaintiff on February 28, 2020, contacted Ms. Avelino and described

Bank’s threats upon returning to the restaurant after he was interviewed by Zane

Major.

     105. On or about March 2, 2020, Plaintiff told Anna Avelino that the hostility

toward her from other employees was increasing as a result of statements by Banks.

Ms. Avellino told Plaintiff that she was not present when Zane Major spoke with

Banks but that she would investigate the breach of confidentiality.




                                         25
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 26 of 38




     106. Despite the promise to protect Plaintiff from any retaliation, Defendants

took no steps to prevent the retaliatory conduct by Arthur Banks and his

encouragement to employees that they should make life difficult for Plaintiff.

     107. In or about early April 2020, Plaintiff was assigned to do inventory with

Banks. Banks stated to Plaintiff something like don’t bring your dry ass pussy back

here, send Kimberly she wears those tight ass skirts, and we know her pussy is wet

because she has not been f**ked in years.

      108. Plaintiff reported what Banks said to Kimberly Ransom who had been

appointed temporary General Manager; Ransom required Plaintiff to go back and

help Banks with inventory. Plaintiff did as she was asked but told Banks she would

not listen to his harassing statements. Banks told Plaintiff she would not be back to

hear such statements, saying “no ass, no job.”

      109. At the end of the inventory, Ms. Ransom told Plaintiff her problem

was that she did not know how to play the game.

    DEENDANTS’ RETALIATION AGAINST PLAINTIFF AFTER SHE
     ESCALATED COMPLAINTS OF SEXUAL HARASSMENT AND
     HARASSMENT BASED ON HER COLOR, PARTICIPATED IN
          THE INVESTIGATION OF THE COMPLAINTS,
                AND FILED AN EEOC CHARGE


                                         26
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 27 of 38




     110. Plaintiff’s escalated complaints and the investigation of the complaints

led to the termination of Mr. Shuffler on March 3, 2020, and the opening of the

General Manager position.

     111.   Plaintiff was fully qualified to serve as General Manager for reasons

including that, throughout her employment at Paschal’s, she performed most of the

duties of the position.

     112. Defendants, in retaliation for Plaintiff’s escalated complaints and the

investigation of the complaints, refused to assign Plaintiff to the position of General

Manager for which she was qualified.

     113. Throughout her employment, Plaintiff was a dedicated employee who was

repeatedly praised for her performance. Plaintiff received positive reviews of her

performance and did not receive discipline or counseling prior to escalating her

complaints of sexual and color harassment and the ensuing investigation in which

she participated.

     114. On March 4, 2020, the same day Plaintiff received the letter confirming

that her complaint was substantiated and establishing steps to be taken by

Defendants in response to the complaint, Plaintiff received a disciplinary warning


                                          27
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 28 of 38




letter from Defendant Concessions. The letter criticized Plaintiff’s performance, for

the first time, citing areas of communications and developing operational

procedures.

     115. This unjustified disciplinary warning was retaliatory and a first step

toward discharging Plaintiff in retaliation for her escalated complaints and the

investigation in which she participated: The warning was administered to punish

Plaintiff and would not have been issued but for the complaint and the investigation

it triggered in which Plaintiff participated, which investigation substantiated her

complaints.

     116. After the meeting to discuss the substantiation of Plaintiff’s complaints,

Kimberly Ransom, who had been appointed temporary General Manager, informed

Plaintiff of the retaliatory diminution in Plaintiff’s duties, stating: “You have done

it now” before describing duties Plaintiff would no longer perform including

scheduling of front-of-the-house employees, making trips to the bank, preparing

daily reports, and other duties.

     117.     Removing duties performed by Plaintiff and transferring such duties to

other employees was part of a plan by Defendants to ensure that the duties of


                                         28
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 29 of 38




Plaintiff’s job could be performed after Defendants completed a rapid discharge of

Plaintiff in retaliation for Plaintiff’s complaints and participation in the investigation

of the complaints.

      118.    On or about April 3, 2020, Kimberly Ransom told Plaintiff that she

should go to the Equal Employment Opportunity Commission because of the

treatment she was receiving from Defendants.

      119. On April 8, 2020, Defendants notified Plaintiff that she would be laid

off temporarily because of “lack of work” as part of a reduction in force due to

Covid-19.

      120. Kimberly Ransom told Plaintiff that Defendants would use the Covid

layoff as justification for not returning Plaintiff to work.

      121. After July 2020, Defendants learned that Plaintiff had filed a Charge of

Discrimination with the EEOC.

      122.    On October 29, 2020, Defendant wrote to Plaintiff advising that her

employment status has been changed from “temporary laid off” to “laid off.”




                                           29
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 30 of 38




     123.   In or around December 2020, Defendants learned that Plaintiff had filed

with the EEOC an amended Charge of Discrimination to address the change in her

employment status in October to “laid off” and the continued retaliation.

     124. During December 2020 and early January 2021, Defendant advertised

for employees and commenced operation of the restaurant.

     125. Although Defendant has hired managerial employees for the restaurant,

it has failed and refused to return to work Plaintiff who has been on a status of a

“laid off” employee.

     126. Defendant’s failure and refusal to return Plaintiff to work from layoff

constitutes retaliation under Title VII.

                              ADDITIONAL FACTS

      127. On or around February 28, 2020 – subsequent to Plaintiff reporting that

she was suffering from panic attacks due to the hostile environment and Plaintiff’s

complaints of hostile environment were substantiated, and when Plaintiff reported

to Anna Avelino Bank’s threats upon returning to the restaurant after he was

interviewed by Zane Major –- Ms. Avelino contacted Plaintiff and suggested she

could schedule therapy through the Concessions Employee Assistance Program.


                                           30
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 31 of 38




      128. Plaintiff consulted a therapist through the EAP but was allowed only a

limited number of visits.

      129. Plaintiff has since undergone therapy with another mental health

counselor and currently sees a therapist regularly to deal with the emotional distress

she continues to experience as a result of the hostile work environment and

retaliation at the restaurant. Plaintiff anticipates that mental health therapy will

continue for a prolonged period.

      130. The emotional distress suffered by Plaintiff has included but was not

limited to, agitation, sleeplessness, frustration, anger, irritation, depression,

despondency, fear, anxiety attacks, panic attacks, nervousness, humiliation,

degradation, feelings of helplessness, lack of confidence, distrust of others, and

difficulties in personal relationships. For example, Plaintiff, who prior to working

at Paschal’s was comfortable in a work setting, is fearful on her current job without

reason. The emotional distress has also included headaches, high blood pressure,

blood sugar problems, appetite disorders, weight gain, and other physical

manifestations. Plaintiff suffered past and future pecuniary and non-pecuniary

losses.


                                         31
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 32 of 38




      131. Defendants acted willfully and with malice, wantonness, oppression,

and/or reckless indifference to Plaintiff’s federally protected rights and the

consequences of its actions and failures to act.

                              CAUSES OF ACTION

      COUNT I (Sexual and Color Harassment in Violation of Title VII)

      132. Plaintiff incorporates by reference, as if fully set forth herein, the

allegations contained in Paragraphs 1 through 131 of this Complaint.

      133. During Plaintiff’s employment, Plaintiff was subjected to unwelcome

harassment based on Plaintiff’s sex, including verbal and physical advances of a

sexual nature, and also based on her color – her light skin tone compared to other

Black employees.

      134. The harassment was sufficiently severe and/or pervasive to, and did,

alter the terms and conditions of Plaintiff’s employment and create a discriminatorily

abusive working environment.

      135. Defendants are liable to Plaintiff under Title VII for reasons which

include but are not limited to the fact that they are considered an integrated




                                          32
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 33 of 38




enterprises/a single employer, joint employers, and/or because Defendant

Concessions is considered the agent of Paschal’s Restaurant for purposes of liability.

      136. Defendants also are liable because they had notice from Plaintiff’s

complaints, and otherwise knew, of the sexual harassment of Plaintiff and the

harassment based on her color and failed to take action to ensure that such offensive

conduct would cease. As a direct result of their failure to take effective action, such

conduct by Defendants’ management employee Banks and other employees

continued toward Plaintiff.

                COUNT II (Retaliation in Violation of Title VII)

      137. Plaintiff incorporates by reference, as if fully set forth herein, the

allegations contained in Paragraphs 1 through 136 of this Complaint.

      138. After Plaintiff escalated her complaints of sexual harassment and

harassment based on color, and she participated in the investigation which

substantiated her complaints, Plaintiff was retaliated against as follows: Banks

threatened Plaintiff; hostility by Banks and other employees increased; Defendants

refused to assign Plaintiff the position of General Manager that had come open;

Defendants issued Plaintiff a disciplinary warning; Plaintiff was relieved of certain


                                          33
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 34 of 38




of her duties; and Defendants failed and refused to return Plaintiff to work after

Paschal’s Restaurant reopened.

      139. Defendants’ failure and refusal to return Plaintiff to work after

Paschal’s reopened also was in retaliation for Plaintiff filing Charges of

Discrimination with the EEOC.

      140. Defendants are liable to Plaintiff for the retaliation under Title VII for

reasons which include but are not limited to the fact that they are considered an

integrated enterprises/a single employer, joint employers, and/or because Defendant

Concessions is considered the agent of Paschal’s Restaurant for purposes of liability.

      141. Defendants also are liable to Plaintiff for retaliation in violation of Title

VII because they knew of Plaintiff’s escalated complaints of sexual and color

harassment, her participation in the investigation which substantiated her

complaints, the filing of Plaintiff’s EEOC charges, and because Defendants were

involved in the retaliatory actions taken against Plaintiff.

            COUNT III (Intentional Infliction of Emotional Distress)

      142. Plaintiff incorporates by reference, as if fully set forth herein, the

allegations contained in Paragraphs 1 through 141 of this Complaint.


                                          34
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 35 of 38




      143. The repeated sexual and color harassment of Plaintiff during Plaintiff’s

employment, the threats by Defendants’ management employee Arthur Banks

against Plaintiff, and the retaliation against Plaintiff by Defendants was extreme and

outrageous, undertaken intentionally, and caused Plaintiff severe emotional distress.

     144.    Defendants are liable to Plaintiff for intentional infliction of emotional

distress because they knew or should have known about the sexual and color

harassment and threats but failed to take action to stop and/or prevent the harassment

of Plaintiff and hostile work environment.

     145.    Defendants are liable to Plaintiff for intentional infliction of emotional

distress because they deliberately set out to retaliate against Plaintiff for her

escalated complaints of sexual and color harassment, her participation in the

investigation which substantiated her complaints, and the filing of Plaintiff’s EEOC

charges.

                 COUNT IV (Negligent Retention/Supervision)

      146. Plaintiff incorporates by reference, as if fully set forth herein, the

allegations contained in Paragraphs 1 through 145 of this Complaint.




                                          35
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 36 of 38




      147. Prior to Plaintiff’s employment, Defendants, on information and belief,

received complaints and/or knew or should have known about Arthur Banks’

harassment of female employees and employees of color, and the hostile

environment based on sex and color at Paschal’s Restaurant.

      148. Defendants failed and/or inadequately responded to the prior complaints

and knowledge of the harassment and hostile environment as a result of which

Plaintiff was subjected to harassment and the hostile environment.

      149. Defendants knew or should have known that, during Plaintiff’s

employment, Arthur Banks repeatedly solicited sexual favors and activity from

female kitchen employees and rewarded participating employees with special

benefits thereby creating a hostile work environment for Plaintiff and other female

employees.

      150. Defendants were aware from Plaintiff’s complaints, by direct

observation, and reports from managers that Banks was sexually harassing Plaintiff,

harassing Plaintiff because of her light skin color, subjecting Plaintiff to an abusive

and hostile work environment, and encouraging other employees to harass Plaintiff

and subject her to abuse.


                                          36
       Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 37 of 38




        151. The action of Defendants in retaining and inadequately supervising

Banks and failing to act after learning of Plaintiff’s complaints allowed the

harassment and abuse to occur and continue.

        152. Defendants are liable for negligent retention and supervision of Banks.

                                 PRAYER FOR RELIEF

        WHEREFORE, plaintiff prays that this Court:

        a)      Declare that the acts and practices complained of herein are in violation

of Title VII;

        b)      Enjoin Defendants from engaging in such conduct in the future;

        c)      Direct Defendants to make Plaintiff whole for all earnings, including

fringe benefits, Plaintiff would have received but for the discriminatory treatment of

her;

        d)      Direct Defendants to reinstate Plaintiff;

        e)      Award to Plaintiff and against Defendants compensatory and punitive

damages under Title VII;

        f)      Award to Plaintiff and against Defendants general, compensatory, and

punitive damages under the laws of the State of Georgia for her claim of intentional


                                            37
     Case 1:21-cv-04417-MLB-LTW Document 1 Filed 10/23/21 Page 38 of 38




infliction of emotional distress in amounts to be determined at trial but not less than

a total Five Hundred Thousand Dollars ($500,000);

      g)     Award Plaintiff her costs and attorneys' fees, and pre- and post-

judgment interest; and

      h).    Grant such other and further relief as this Court deems just and proper.

                         DEMAND FOR A TRIAL BY JURY

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

demands a trial by jury.

                                        Respectfully submitted,

                                        s/A. McArthur Irvin
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                                          38
